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     In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 24-123V



    MICHAEL ROBERTS,                                         Chief Special Master Corcoran

                         Petitioner,                         Filed: March 17, 2025
    v.

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Dorian Hurley, U.S. Department of Justice, Washington, DC, for Respondent.

                               DECISION ON JOINT STIPULATION 1

        On January 6, 2024, Michael Roberts filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) caused by an influenza (“flu”) vaccine administered on October
22, 2022. Petition at 1; Stipulation, filed at March 17, 2025, ¶¶ 1, 2. Petitioner further
alleges the vaccine was administered within the United States, that he suffered the
residual effects of his injury for more than six months, and that he has not received any
prior award or settlement of a civil action for damages on his behalf as a result of his
condition. Petition at 1, 2-3; Stipulation at ¶¶ 3-5. Respondent denies that Petitioner
sustained a SIRVA Table Injury; denies that the flu vaccine caused Petitioner’s alleged
shoulder injury, or any other injury; denies that Petitioner suffered the residual effects of
his alleged injury for more than six months; and denies that petitioner’s current condition
is a sequela of a vaccine-related injury. Stipulation at ¶ 6.


1
  Because this Decision contains a reasoned explanation for the action taken in this case, it must be made
publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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       Nevertheless, on March 17, 2025, the parties filed the attached joint stipulation, 3
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

      Pursuant to the terms stated in the attached Stipulation, I award Petitioner a lump
sum payment of $10,000.00 to be paid through an ACH deposit to Petitioner’s
counsel’s IOLTA account for prompt disbursement to Petitioner. Stipulation at ¶ 8.
This amount represents compensation for all items of damages that would be available
under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision. 4

       IT IS SO ORDERED.

                                                                  s/Brian H. Corcoran
                                                                  Brian H. Corcoran
                                                                  Chief Special Master




3
  The Vinesign completed verification located at page six of the parties’ Stipulation has been omitted from
the attached copy of the Stipulation.
4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                     2
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